                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )     CASE NO. 3:13-00065
                                              )     JUDGE SHARP
TERRY DUANE JORDAN                            )


                                         ORDER


       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 230) to which the Government does not oppose.

       The motion is GRANTED and the sentencing hearing scheduled for February 9, 2015, is

hereby rescheduled for Thursday, March 12, 2015, at 1:30 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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